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                          LINCARE, INC.
                      7
                      8                     IN THE UNITED STATES DISTRICT COURT
                      9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                   10
                   11     IGNACIO GARATE, on behalf of                 Case No. '24CV0768 CAB MSB
                          himself and all others similarly situated,
                   12                                                  DEFENDANT LINCARE, INC.’S
                                          Plaintiff,                   NOTICE OF REMOVAL
                   13                                                  PURSUANT TO 28 U.S.C. §§ 1332,
                                v.                                     1367(a), 1441(a), 1441(b), 1446
                   14                                                  AND 1453
                          LINCARE, INC., a Delaware
                   15     Corporation; and DOES 1-50, inclusive,
                   16                     Defendants.
                   17
                                                                       Trial Date:None Set
                   18                                                  Complaint Filed: March 27, 2024
                                                                       Removal Filed: April 29, 2024
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                      1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                      2   THE SOUTHERN DISTRICT OF CALIFORNIA:
                      3         PLEASE TAKE NOTICE that Defendant LINCARE, INC. (“Lincare”)
                      4   hereby removes the above-entitled action from the Superior Court of the State of
                      5   California, County of San Diego, to the United States District Court for the Southern
                      6   District of California pursuant to 28 U.S.C. §§ 1332(d) (Diversity under Class Action
                      7   Fairness Act), 1367(a) (Supplemental Jurisdiction), 1441(a), 1441(b), 1446 and
                      8   1453, based on the following facts:
                      9   I.    PLEADINGS AND PROCESS, AND ORDERS
                   10           1.     On March 27, 2024, Plaintiff Ignacio Garate (“Plaintiff”), individually,
                   11     and on behalf of others similarly situated, filed a complaint against Defendant
                   12     Lincare Inc. (collectively, “Defendants”), entitled “IGNACIO GARATE, an
                   13     individual, and DOES 1 through 50, inclusive,” in the Superior Court of California,
                   14     County of San Diego, Case No. 37-2024-00014437-CU-OE-CTL (hereinafter, the
                   15     “Complaint”).     A true and correct copy of the Complaint is attached to the
                   16     Declaration of Jason Shon, ¶ 2 (“Shon Decl.”) as Exhibit A. The allegations in the
                   17     Complaint are incorporated for reference in this notice of removal but are not
                   18     admitted.
                   19           2.     The Complaint alleges 8 causes of action which Plaintiff pursues on a
                   20     class-wide basis: (1) failure to pay all minimum wages; (2) failure to pay all overtime
                   21     wages; (3) meal period violations; (4) rest period violations; (5) failure to pay all sick
                   22     time; (6) wage statement violations; (7) waiting time penalties; and (8) unfair
                   23     competition. (See generally Ex. A. supra.)
                   24           3.     True and correct copies of the Summons, Civil Case Cover Sheet and
                   25     Alternate Dispute Resolution Package (“ADR”) are attached to the Shon Decl. as
                   26     Exhibit B.
                   27
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                                                                                 DEFENDANT LINCARE, INC.’S NOTICE
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                      1          4.      Pursuant to 28 U.S.C. § 1446(d), the foregoing exhibits constitute all
                      2   process, pleadings and orders received by Defendant or filed with the Court in this
                      3   action. To Defendant’s knowledge, no further process, pleadings, or orders related to
                      4   this case have been filed in Superior Court of California, County of San Diego. (Shon
                      5   Decl., ¶ 4.)
                      6   II.    TIMELINESS OF REMOVAL
                      7          5.      This Notice of Removal is timely filed in accordance with 28 U.S.C.
                      8   § 1446(b), in that it is filed within thirty (30) days after March 28, 2024, date on
                      9   which Defendant was served with the Complaint. See Murphy Bros., Inc. v. Mitchetti
                   10     Pipe Stringing, Inc., 526 U.S. 344, 354 (1999). The 30-day period for removal runs
                   11     from the date of service of the summons and complaint, as governed by state law.
                   12     See id. Here, the last day for removal falls on April 29, 2024, accounting for
                   13     weekends and holidays. See 28 U.S.C. § 1446(b); Fed. R. Civ. Proc. 6(a); Krug v.
                   14     Wells Fargo Bank, N.A., No. C 11-5190, 2011 WL 6182341, *1 (N.D. Cal. Dec. 13,
                   15     2011). Accordingly, this Notice of Removal has been timely filed within the time
                   16     provided by 28 U.S.C. § 1446(b).
                   17     III.   VENUE
                   18            6.      The United States District Court for the Southern District of California
                   19     is the proper venue for removal pursuant to 28 U.S.C. § 1441(a) because the action
                   20     is pending in the Superior Court of the State of California for the County of San
                   21     Diego, which is located within the Southern District of California. 28 U.S.C. § 84(b).
                   22     IV.    JURISDICTION PURSUANT TO THE CLASS ACTION FAIRNESS
                   23     ACT
                   24            7.      This Court has original jurisdiction over this case pursuant to the Class
                   25     Action Fairness Act of 2005 (“CAFA”). 28 U.S.C. § 1332(d). CAFA provides the
                   26     federal district courts with original jurisdiction over civil class action lawsuits filed
                   27     under federal or state law in which any member of a class of plaintiffs is a citizen of
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                      1   a state different from any defendant, and where the amount in controversy exceeds
                      2   $5 million exclusive of interest and costs. 28 U.S.C. § 1332(d)(2).
                      3          8.      Here, removal is proper under CAFA because, as set forth below, the
                      4   case is filed as a civil class action, the amount in controversy allegedly exceeds
                      5   $5 million exclusive of interest and costs, and at least one member (if not all) of the
                      6   class of plaintiffs is a citizen of a state different from Defendant. The exceptions set
                      7   forth in 28 U.S.C. § 1332(d)(3)-(5) are not applicable here.
                      8         9.       This action was initially brought on behalf of “[a]ll current and former
                      9   non-exempt hourly employees who work or worked for Defendant in California
                   10     during the four years immediately preceding the filing of the Complaint through the
                   11     date of trial.” (Compl., ¶ 38, Ex. A to Shon Decl., ¶ 2.) The “membership of the
                   12     Classes is unknown to Plaintiff at this time; however, it is estimated that the Classes
                   13     consist of at least one hundred (100) individuals,” and the “members of the Classes
                   14     are so numerous that joinder of all members would be unfeasible and not practicable.”
                   15     (Id., ¶ 39.)
                   16            A.      Citizenship of Parties
                   17            10.     Pursuant to 28 U.S.C. § 1453(b), “A class action may be removed to a
                   18     district court of the United States in accordance with section 1446 (except that the 1-
                   19     year limitation under section 1446(c)(1) shall not apply), without regard to whether
                   20     any defendant is a citizen of the State in which the action is brought, except that such
                   21     action may be removed by any defendant without the consent of all defendants.”
                   22     CAFA’s diversity requirement is satisfied when any member of a class of citizens is
                   23     a citizen of a State different from any defendant. 28 U.S.C. § 1332(d)(2).
                   24            11.     For diversity purposes, a person is a “citizen” of the state in which he or
                   25     she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088 (9th Cir. 1983).
                   26     A person’s domicile is the place he or she resides with the intention to remain, or to
                   27
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                      1   which he or she intends to return. Kanter v. Warner-Labert Co., 265 F.3d 853, 857
                      2   (9th Cir. 2001).
                      3         12.    Here, Plaintiff alleges that he “ was and currently is a California resident
                      4   residing in the State of California.” (Compl., ¶ 7.) Accordingly, Plaintiff is a citizen
                      5   of the State of California for diversity purposes. Kanter, 265 F.3d at 857.
                      6         13.    For purposes of CAFA, “a corporation shall be deemed to be a citizen
                      7   of every State and foreign state by which it has been incorporated and of the State or
                      8   foreign state where it has its principal place of business.” 28 U.S.C. § 1332(c)(1);
                      9   see also, Johnson v. Columbia Prop. Anchorage, LP, 437 F.3d 894, 899 (9th Cir.
                   10     2006).
                   11           14.    Defendant Lincare, Inc. is a corporation that is incorporated in and exists
                   12     under the laws of the State of Delaware, with its principal place of business in the
                   13     State of Florida. Accordingly, Defendant Lincare, Inc. is a citizen of Florida and
                   14     Delaware for purposes of diversity jurisdiction. 28 U.S.C. § 1332(c)(1).
                   15           15.    The presence of Doe defendants in this case has no bearing on diversity
                   16     with respect to removal. See 28 U.S.C. § 1441(a) (“[f]or purposes of removal under
                   17     this chapter, the citizenship of defendants sued under fictitious names shall be
                   18     disregarded”).
                   19           16.    Here, diversity of citizenship is met because Plaintiff is a citizen of
                   20     California while Defendant is a citizen of Florida and Delaware. Therefore, the
                   21     minimal diversity requirement is fully satisfied. See, 28 U.S.C. § 1332(d)(2)(A).
                   22           B.     The Amount in Controversy Exceeds $5 Million and Plaintiff’s
                                       Classes are More than 100 Class Members
                   23
                   24           17.    CAFA requires the “matter in controversy” to exceed “the sum or value
                   25     of $5,000,000, exclusive of interest and costs.” 28 U.S.C. § 1332(d)(2). “The claims
                   26     of the individual class members shall be aggregated to determine whether the matter
                   27     in controversy exceeds” this amount. 28 U.S.C. § 1332(d)(6). Further, CAFA may
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                      1   only be invoked if the proposed class contains at least 100 members. 28 U.S.C.
                      2   § 1332(d).
                      3         18.    “In determining the amount in controversy, courts first look to the
                      4   complaint. Generally, ‘the sum claimed by the plaintiff controls if the claim is
                      5   apparently made in good faith.’” Ibarra v. Manheim Investments, Inc. (9th Cir. 2015)
                      6   775 F.3d 1193, 1197 (citing St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S.
                      7   283, 289 (1938)).     “Whether damages are unstated in a complaint, or, in the
                      8   defendant’s view are understated, the defendant seeking removal bears the burden to
                      9   show by a preponderance of the evidence that the aggregate amount in controversy
                   10     exceeds $5 million when federal jurisdiction is challenged.” Ibid.
                   11           19.    Plaintiff has not alleged a specific amount in controversy in his
                   12     Complaint.    A “defendants’ notice of removal need include only a plausible
                   13     allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart
                   14     Cherokee Basin Operating Co., LLC v. Owens¸ 574 U.S. 81, 89 (2014). If the
                   15     plaintiff or the court contests a defendant’s allegations, however, “[e]vidence
                   16     establishing the amount is required.”          (Id.)   As noted in Dart Cherokee:
                   17     “‘[D]efendants do not need to prove to a legal certainty that the amount in
                   18     controversy requirement has been met. Rather, defendants may simply allege or
                   19     assert that the jurisdictional threshold has been met. Discovery may be taken with
                   20     regard to that question. In case of a dispute, the district court must make findings of
                   21     jurisdictional fact to which the preponderance standard applies.’” Id. (quoting House
                   22     Judiciary Committee Report on the Federal Courts Jurisdiction and Venue
                   23     Clarification Act of 2011, H.R. Rep. No. 112-10, p. 16 (2011). See also Arias v.
                   24     Residence Inn, 936 F.3d 920, 922 (9th Cir. 2019) (“a removing defendant’s notice of
                   25     removal ‘need not contain evidentiary submissions’ but only plausible allegations of
                   26     the jurisdictional elements”) (quoting Ibarra v. Manheim Investments, Inc., 775 F.3d
                   27     1193, 1197 (9th Cir. 2015)).
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                      1         20.    Here, Lincare can plausibly allege, based on Plaintiff’s Complaint and
                      2   his prayer for relief, that the amount in controversy for Plaintiff’s class-wide claims
                      3   exceeds $5 million. The assertions of Lincare herein are limited to their preliminary
                      4   understanding of Plaintiff’s claims and data currently available to Lincare.
                      5         21.    Plaintiff has defined the proposed Class as “[a]ll current and former non-
                      6   exempt hourly employees who work or worked for Defendant in California during
                      7   the four years immediately preceding the filing of the Complaint through the date of
                      8   trial (the “Class”).” (Compl., ¶ 38.)
                      9         22.    During the period of March 27, 2020 to April 29, 2024 (the date of
                   10     removal) (hereinafter, the “Relevant Time Period”), based on the personnel records
                   11     of those whom Lincare employed as hourly non-exempt employees during the
                   12     Relevant Time Period, Lincare employed at least 841 individuals in California as
                   13     hourly, non-exempt employees. The employees in question were employed full-time
                   14     and worked eight hours a day for 5 days a week. Accordingly, it is reasonable to
                   15     assume that all 841 employees in question are members of the proposed Class
                   16     Members. Based on the proposed Class Members’ personnel records, the average
                   17     hourly rate of the Proposed Class Members is $23.53 per hour. As of the date of the
                   18     removal, the proposed Class Members worked approximately 62,541 workweeks in
                   19     the Relevant Time Period.
                   20           23.    While Lincare denies Plaintiff’s claims of wrongdoing and denies his
                   21     request for relief thereon, the facial allegations in Plaintiff’s Complaint and the total
                   22     amount of wages, penalties and attorneys’ fees at issue in this action, when viewed
                   23     in the light most favorable to Plaintiff, is in excess of the jurisdictional minimum.
                   24     Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999). “In measuring the
                   25     amount in controversy, a court must assume that the allegations of the complaint are
                   26     true and that a jury will return a verdict for the plaintiff on all claims made in the
                   27     complaint.” Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp.
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                      1   2d 993, 1001 (C.D. Cal. 2002). “When a ‘[d]efendant’s calculations (are) relatively
                      2   conservative, made in good faith, and based on evidence whenever possible,’ the
                      3   court may find that the ‘[d]efendant has established by a preponderance of the
                      4   evidence that the amount in controversy is met.’” Cagle v. C&S Wholesale Grocers,
                      5   Inc., __ F.R.D. ___, 2014 WL 651923, *7 (E.D. Cal. Feb. 19, 2014) (quoting
                      6   Behrazfar v. Unisys Corp., 687 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008) (citations
                      7   omitted)). Nor does Lincare need to provide summary judgment-type evidence.
                      8   Cagle, 2014 WL 651923, *7.
                      9         24.    Where a plaintiff alleges that a defendant “adopted and maintained
                   10     uniform policies, practices and procedures that caused the purported violations of
                   11     California's [break laws] … [i]t is not unreasonable to assume that when a company
                   12     has unlawful policies and they are uniformly ‘adopted and maintained,’ then the
                   13     company may potentially violate the law in each and every situation where those
                   14     policies are applied.” Mejia v. DHL Express (USA), Inc., No. CV 15-890-GHK JCx,
                   15     2015 WL 2452755, *4 (C.D. Cal. May 21, 2015) (emphasis added). In that instance,
                   16     the district court found that “a 100% violation rate is not an unreasonable assumption
                   17     to use in estimating the amount in controversy in light of the allegations in the
                   18     complaint.” Id.
                   19           25.    Here, Plaintiff alleges 8 causes of action: (1) failure to pay all minimum
                   20     wages; (2) failure to pay all overtime wages; (3) meal period violations; (4) rest
                   21     period violations; (5) failure to pay all sick time; (6) wage statement violations; (7)
                   22     waiting time penalties; and (8) unfair competition. (See generally Ex. A. supra.)
                   23           26.    Plaintiff seeks unpaid wages, unpaid premium compensation, interest,
                   24     penalties, as well as attorneys’ fees and costs. Plaintiff seeks recovery of the
                   25     aforementioned remedies for all members of the Proposed Class. (See, e.g., id. at
                   26     Prayer for Relief, ¶¶ 1-14.)
                   27
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                      1   Failure to Pay Minimum Wage
                      2            27. Plaintiff alleges that he and other “non-exempt employees regularly
                      3   worked various shifts, many of which were more than 8.0 hours in a workday and
                      4   40.0 hours in a workweek . . . [and] that other non-exempt employees were also
                      5   subjected to the same policies, procedures, practices, working conditions, and
                      6   corresponding wage and hour violations to which he was subjected during his
                      7   employment.” (Compl., ¶ 17.)
                      8            28. As for the First Cause of Action, Plaintiff alleges that “Defendant has
                      9   consistently failed to accurately record all time worked, including the time non-
                   10     exempt employees were under the employer’s control. This included a policy and
                   11     practice of time editing and failing to accurately record and capture non-exempt
                   12     employees’ time correctly, including all time spent working off-the-clock, pre-shift
                   13     and post-shift and often during meal periods. As a result of these company-wide
                   14     policies/practices, Plaintiff and other non-exempt employees are not compensated for
                   15     all the hours that they actually work and all of the overtime hours they actually work,
                   16     in violation of Labor Code [] and applicable Wage Orders.” (Compl., ¶ 18.) “These
                   17     allegations of unpaid wages due to “policies, practices, and procedures” warrant an
                   18     assumption of at least 30 minutes of unpaid wages per week. See Andrade v. Beacon
                   19     Sales Acquisition, Inc., Case No. CV 19-6963-CJC(RAOx), 2019 WL 4855997, at
                   20     *3 (C.D. Cal. Oct. 1, 2019) (“violation rate of one hour off-the-clock work and two
                   21     hours of uncompensated overtime per workweek was reasonable based on allegation
                   22     of ‘policy and/or practice’”).
                   23             29.    Based on the applicable minimum wage and the accompanying
                   24     liquidated damages, if the proposed Class worked off the clock only 30 minutes per
                   25     week, the amount in controversy for this claim is $1,471,589.73 (62,541 workweeks
                   26     x $23.53 per hour x 30 minutes x 2 for liquidated damages1).
                   27     1
                              Pursuant to California Labor Code section 1194.2.
                   28                                                             DEFENDANT LINCARE, INC.’S NOTICE
                                                                   -8-                               OF REMOVAL
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                      1   Failure to Pay Overtime Wage
                      2         30.    As for his Second Cause of Action, Plaintiff alleges that “Plaintiff and
                      3   other non-exempt employees worked regular shifts that lasted longer than 8.0 hours
                      4   in a workday and resulted in non-exempt employees regularly working more than 40
                      5   hours in a workweek. However, Defendant failed to properly calculate and pay
                      6   overtime wages at the proper legal rate due to Defendant’s uniform failure to include
                      7   all forms of compensation/renumeration, including, but not limited to, commissions,
                      8   incentives, non-discretionary bonuses, shift pay, and all other forms of renumeration
                      9   in calculating the ‘regular rate of pay’ for purposes of overtime compensation.”
                   10     (Compl., ¶ 22.) As with the minimum wage claim, Plaintiff alleges that Defendant
                   11     had a “policy” of requiring employees to work overtime. (Compl, ¶ 24.) Based on the
                   12     applicable regular rate of pay, if the proposed Class worked only 1 hour of overtime
                   13     per week, an extremely conservative estimate given Plaintiff’s allegations of
                   14     unlawful policies and practices, the amount in controversy for the overtime claim is
                   15     $2,207,304.63 (62,541 workweeks x $35.29 overtime rate x 1 hour of overtime per
                   16     week).
                   17     Failure to Provide Meal Periods Claim
                   18           31.    As for his Third Cause of Action, Plaintiff alleges that “[d]ue to
                   19     Defendant’s uniform meal period policies/practices, operational requirements, and
                   20     work demands, Plaintiff and other non-exempt employees often could not take timely
                   21     and uninterrupted net 30-minute first meal periods before the end of the fifth hour of
                   22     work.” (Compl., ¶ 28.)
                   23
                                32.    Plaintiff further alleges that non-exempt employees “worked more than
                   24
                          10.0 hours in a shift [and] they were not allowed and permitted to take a mandated
                   25
                          second meal period before the end of the tenth hour of work in violation of the Labor
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                          Code and applicable Wage Orders.” Plaintiff further alleges that “meal periods were
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                      1   often interrupted and/or lasted fewer than 30 minutes due to Defendant’s meal period
                      2   policies/procedures, operational requirements, and work demands.” (Id.) Finally,
                      3   Plaintiff alleges that Defendant “failed and continues to fail to maintain a mechanism
                      4   by which non-exempt employees were paid meal period premiums at the ‘regular rate
                      5   of pay.’” (Compl., ¶ 29.)
                      6         33.    Based on his allegations, Plaintiff alleges that the proposed Class were
                      7   prevented from taking any lawful meal breaks for each shift they worked because of
                      8   Lincare’s illegal policies and practices. This type of allegation permits a reasonable
                      9   assumption of a 100 percent violation rate, or 5 hours of pay per week for 5 days of
                   10     missed meal breaks. However, using a conservative assumption that the proposed
                   11     Class were not provided with one meal breaks per workweek (one out of five meal
                   12     periods were missed, short, or late per week), then based on the proposed Class’
                   13     average rate of pay ($23.53/hour) and their respective number of workweeks (62,541
                   14     workweeks), the meal break violation claim alleges at least $1,471,589.73
                   15     ($23.53/hour x 1 hour x 62,541 workweeks) in damages.2
                   16     Failure to Provide Rest Periods Claim
                   17           34.    As for his Fourth Cause of Action, Plaintiff alleges that he and “other
                   18     non-exempt employees were not provided with all 10-minute rest periods for every
                   19     four hours worked, or a major fraction thereof, due to Defendant’s uniform rest
                   20     period policies/practices, operational requirements, and work demands.” (Compl, ¶
                   21     31.) Plaintiff further alleges they were denied a “second rest period for shifts in
                   22     excess of six hours and a third rest period for shifts in excess of 10.0 hours in a
                   23     workday.” (Id.) Plaintiff further alleges that each time “non-exempt employees were
                   24     unable to take a compliant rest period, Defendant failed and continues to fail to
                   25     adequately pay rest period premium payments at the ‘regular rate of pay’ as required
                   26
                          2
                            The meal break calculation is also reasonable as it is only accounting for the alleged
                   27     violation of the first meal break, not the second meal break.
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                      1   by Labor Code § 226.7.” (Id.).      Plaintiff further alleges that Defendant failed to
                      2   provide legally compliant rest periods “[b]y not relieving all non-exempt employees
                      3   of all duties during rest periods ….” (Compl, ¶ 32.)
                      4          35.   Based on his allegations, Plaintiff is claiming that the proposed Class
                      5   was prevented from taking any lawful rest breaks for each shift they worked because
                      6   of Lincare’s illegal policies and practices. This type of allegation permits a
                      7   reasonable assumption of a 100 percent violation rate. However, using a conservative
                      8   assumption that the proposed Class was not provided with one rest break per
                      9   workweek (merely a 10 percent violation rate (one rest period taken out of 10
                   10     rest periods owed per week)), based on the proposed Class members’ average rate
                   11     of pay ($23.53/hour) and their respective number of workweeks (62,541 workweeks),
                   12     the rest break violation claim alleges at least $1,471,589.73 ($23.53/hour x 1 hour x
                   13     62,541 workweeks) in damages.
                   14     Failure to Furnish Accurate Itemized Wage Statements Claim
                   15            36.   For the Sixth Cause of Action, Plaintiff alleges that as a result of
                   16     “Defendant’s failure to Pay Plaintiff and the Wage Statement Subclass for all
                   17     minimum, overtime, sick pay wages and missed meal and rest period premiums at
                   18     the appropriate legal rate, Defendant failed to include required information on
                   19     Plaintiff’s and the Wage Statement Subclass’ wage statements, including, but not
                   20     limited to, the gross wages earned, the net wages earned in violation of Labor Code
                   21     section 226(a)” and that the failure was “knowing and intentional.” (Compl., ¶¶ 76-
                   22     77.)
                   23            37.   “An employee suffering injury as a result of a knowing and intentional
                   24     failure by an employer to comply with subdivision (a) is entitled to recover the greater
                   25     of all actual damages or fifty dollars ($50) for the initial pay period in which a
                   26     violation occurs and one hundred dollars ($100) per employee for each violation in a
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                   28                                                            DEFENDANT LINCARE, INC.’S NOTICE
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                      1   subsequent pay period, not to exceed an aggregate penalty of four thousand dollars
                      2   ($4,000).” Cal. Labor Code ¶ 226(e)(1).
                      3         38.    The proposed Class received one wage statement every two weeks.
                      4   Given the one-year statute of limitations for this claim, if each proposed Class
                      5   Member that worked after March 27, 2023 (approximately 349 employees, according
                      6   to personnel records), is awarded $50 for the first pay period he or she worked, and
                      7   $100 for every pay period thereafter, then the amount in controversy for this claim is
                      8   approximately $874,050 ($2,550 [$50 for initial violation +$100 x 25 for second
                      9   violation] x 349 employees).
                   10     Failure to Timely Pay All Wages Due to Discharged and Quitting Employees
                   11           39.    As for the Sixth Cause of Action, Plaintiff claims that “Defendant
                   12     willfully failed to pay the Waiting Time Subclass for all hours worked, including all
                   13     minimum and overtime, sick pay wages, and their meal and rest period premiums at
                   14     the ‘regular rate of pay,’ before or upon termination or separation from employment
                   15     with Defendant as required by Labor Code §§ 201 and 202.” (Compl., ¶ 83.) Plaintiff
                   16     further alleges that “[a]s a result, Defendant is liable to the Waiting Time Subclass
                   17     for waiting time penalties amounting to thirty (30) days wages for Plaintiff and the
                   18     Waiting Time Subclass pursuant to Labor Code § 203.” (Id., at ¶ 84.)
                   19           40.    Given the three-year statute of limitations for claims section 203, at least
                   20     454 class members were terminated after March 27, 2021. The average daily shift for
                   21     these employees was eight hours in length. Assuming arguendo the truth of
                   22     Plaintiff’s allegations that these employees are entitled to waiting time penalties, the
                   23     amount in controversy is estimated to be at least $2,563,735.92 (454 terminations x
                   24     $23.53/hour x 8 hours x 30 days).
                   25           41.    The amount in controversy for only Plaintiff’s first (minimum wage
                   26     violation claim), second (overtime violation claim), third (meal period claim), fourth
                   27     (rest period claim); sixth (wage statement claim), and seventh (waiting time
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                      1   penalties) causes of action is estimated to be at least $10,059,859.74, exclusive of
                      2   attorneys’ fees and interest.
                      3         42.    Plaintiff also seeks an award of reasonable attorneys’ fees and costs for
                      4   the Proposed Class Members pursuant to California Labor Code §§ 218.5, 226, 1194,
                      5   and Code of Civil Procedure § 1021.5. (See Compl., Prayer for Relief, ¶ 13.) “[A]
                      6   court must include future attorneys’ fees recoverable by statute or contract when
                      7   assessing whether the amount-in-controversy requirement is met.” Fritsch v. Swift
                      8   Transp. Co., 899 F.3d 785, 794 (9th Cir. 2018). “[I]f the law entitles the plaintiff to
                      9   future attorneys’ fees if the action succeeds, ‘then there is no question that future
                   10     [attorneys’ fees] are ‘at stake’ in the litigation,’ and the defendant may attempt to
                   11     prove that future attorneys’ fees should be included in the amount in controversy.”
                   12     Id.
                   13           43.    Although Fritsch has rejected an automatic assumption that a 25 percent
                   14     fee recovery will be awarded in a wage and hour class action, the Fritsch court still
                   15     permits use of a “percentage based method” “when estimating the amount of
                   16     attorneys’ fees included in the amount in controversy.” Id., at 796, n.6. District courts
                   17     have recognized this important caveat in Fritsch. See Cortez v. United Natural Foods,
                   18     Inc., 2019 U.S. Dist. LEXIS 31540, *22-23 (N.D. Cal. Feb. 27, 2019) (“while the
                   19     Ninth Circuit refused to hold that a court must always use the 25% rate of the final
                   20     award to determine future attorneys’ fees, the Court did ‘not hold that a percentage-
                   21     based method is never relevant when estimating the amount of attorneys’ fees
                   22     included in the amount in controversy.’”).
                   23           44.    The rule now is merely that a removing defendant cannot assume that
                   24     such a percentage will be awarded. As a result, several district courts, after Fritsch,
                   25     have held that where nothing about a wage and hour class action suggests that there
                   26     would be a downward departure from the 25 percent benchmark, such a percentage
                   27     is appropriate. See Cortez, 2019 U.S. Dist. LEXIS 31540, *23 (N.D. Cal. Feb. 27,
                   28                                                            DEFENDANT LINCARE, INC.’S NOTICE
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                      1   2019) (relying on Fritsch, holding that “[i]n the Court’s experience, this appears to
                      2   be a typical wage and hour class action to which courts in this Circuit would likely
                      3   apply the 25% benchmark rate.”); Kastler v. Oh My Green, Inc., 2019 U.S. Dist.
                      4   LEXIS 185484, *18 (N.D. Cal. Oct. 25, 2019) (following Fritsch, and holding that
                      5   “[a]lthough Defendant provide[d] very little to support a 25% fee calculation,” the
                      6   court, relying “on its own knowledge of customary rates and [its] experience
                      7   concerning reasonable and proper fees,” found that it was reasonable); Ramirez v.
                      8   Benihana Nat’l Corp., 2019 U.S. Dist. LEXIS 3537, *6 (N.D. Cal. Jan. 8, 2019)
                      9   (“While the Court acknowledges the 25% benchmark does not automatically apply
                   10     in all cases, see Fritsch, 899 F.3d at 796…none of the factors counseling against the
                   11     application of the 25% benchmark have been raised by plaintiffs, nor does the record
                   12     before the Court otherwise reflect a departure from such benchmark is warranted.”).
                   13           45.      Therefore, because nothing about this wage and hour class action
                   14     suggests that a downward departure is warranted, this Court should consider
                   15     attorneys’ fees to be 25 percent of the fund. Considering the sum of the potential
                   16     damages for only the first, second, third, fourth, sixth, and seventh causes of action
                   17     are estimated to be at least $10,059,859.74, it is reasonable to assume arguendo that
                   18     the potential attorneys’ fees would be $2,514,964.94 ($10,059,859.74 x 25%) for
                   19     these six causes of action. This calculation would put a total of $12,574,824.68 in
                   20     controversy.
                   21           46.      Accordingly, the amount of attorneys’ fees at stake in this case add even
                   22     more to the amount in controversy, even without which the claims readily exceed the
                   23     $5,000,000 threshold under CAFA.
                   24           47.      Finally, CAFA’s numerosity requirement of the proposed class having
                   25     at least 100 class members is satisfied by the 841 Proposed Class Members identified
                   26     herein above. See 28 U.S.C. § 1332(d)(5)(B).
                   27
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                      1         V.     NOTICE OF REMOVAL
                      2         48.    A copy of this notice of removal will be filed with the Clerk of the
                      3   Superior Court of the State of California, County of San Diego. (Ex. C, Shon Decl. ¶
                      4   5.)
                      5         49.    By removing the action to this Court, Defendant does not waive any
                      6   defenses, objections, or motions available to them under state or federal law.
                      7   Defendants expressly reserve the right to require that the claims of Plaintiff and/or
                      8   all members of the putative class be decided on an individual basis.
                      9         50.    WHEREFORE, Defendant prays that the Court remove this civil action
                   10     from the Superior Court of the State of California, County of San Diego, to the United
                   11     States District Court for the Southern District of California.
                   12
                   13     Dated:       April 29, 2024                  Respectfully submitted,
                   14                                                  FORD & HARRISON LLP
                   15
                   16                                                  By: /s/ Jason Shon
                                                                          David L. Cheng
                   17                                                     Jason Shon
                   18                                                  Attorneys for Defendant
                                                                       LINCARE, INC.
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                   28                                                           DEFENDANT LINCARE, INC.’S NOTICE
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                      1                                 PROOF OF SERVICE
                      2         I, Donna Sanchez, declare:
                      3         I am a citizen of the United States and employed in Los Angeles County,
                          California. I am over the age of eighteen years and not a party to the within-entitled
                      4   action. My business address is 350 South Grand Avenue, Suite 2300, Los Angeles,
                          California 90071.
                      5
                               On April 29, 2024, I served a copy of the following document(s) described
                      6   below on the interested parties in this action, as follows:
                      7            DEFENDANT LINCARE, INC.’S NOTICE OF REMOVAL
                      8           Mehrdad Bokhour, Esq.                            Attorneys for Plaintiff,
                                  BOKHOUR LAW GROUP, PC                            IGNACIO GARATE and
                      9           1901 Avenue of the Stars, Suite 450              the Putative Classes
                                  Los Angeles, CA 90067
                   10             Tel.: (310) 975-1493
                                  Fax: (310) 675-0861
                   11             Email: mehrdad@bokhourlaw.com
                   12             Joshua S. Falakassa, Esq.
                                  FALAKASSA LAW, P.C.
                   13             1901 Avenue of the Stars, Suite 450
                                  Los Angeles, CA 90067
                   14             Tel.: (818) 456-6168
                                  Fax: (888) 505-0868
                   15             Email: josh@falakassalaw.com
                   16          BY U.S. MAIL: By placing the document(s) listed above in a sealed
                                envelope with postage thereon fully prepaid, in the United States mail at Los
                   17           Angeles, California addressed as set forth above. I am readily familiar with
                                the firm's practice of collection and processing correspondence for mailing.
                   18           Under that practice it would be deposited with the U.S. Postal Service on that
                                same day with postage thereon fully prepaid in the ordinary course of
                   19           business. I am aware that on motion of the party served, service is presumed
                                invalid if postal cancellation date or postage meter date is more than one day
                   20           after date of deposit for mailing in affidavit.
                   21          ELECTRONICALLY: I caused a true and correct copy thereof to be
                                electronically filed using the Court's Electronic Court Filing ("ECF") System
                   22           and service was completed by electronic means by transmittal of a Notice of
                                Electronic Filing on the registered participants of the ECF System.
                   23           FEDERAL: I declare that I am employed in the office of a member of the
                               State Bar of this Court at whose direction the service was made. I declare under
                   24           penalty of perjury under the laws of the United States of America and State of
                   25           California that the above is true and correct.

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                      1    Executed on April 29, 2024, at Los Angeles, California.
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                      4                                             Donna Sanchez

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                   28                                      - 17 -                    PROOF OF SERVICE
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